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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                  4:03CR3014
                                          )
             V.                           )
                                          )
CHRISTOPHER A. GANT,                      )                     ORDER
                                          )
                    Defendant.            )

        IT IS ORDERED that the defendant’s motion to compel start of supervised release
(filing 429) is denied.

      Dated July 23, 2009.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
